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              IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

 TIMOTHY KING, MARIAN SHERIDAN,
 JOHN HAGGARD, CHARLES RITCHARD,
 JAMES HOOPER, DAREN RUBINGH,

                   Plaintiffs,                  No. 2:20-cv-13134
 v.                                             Hon. Linda V. Parker
                                                Mag. R. Steven Whalen
 GRETCHEN WHITMER, in her
 official capacity as the Governor of the
 State of Michigan, JOCELYN
 BENSON, in her official capacity as
 Michigan Secretary of State and the
 Michigan BOARD OF STATE
 CANVASSERS,

                   Defendants,
 and

 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY,

                   Intervenor-Defendants.


      EMERGENCY MOTION REQUESTING PUBLIC RELEASE OF
      RECORDING OF THE JULY 12, 2021, SANCTIONS HEARING


       Counsel for Plaintiffs (identified in the signature block below)

 respectfully move this Court to release the video of the July 12, 2021

 sanctions hearing for public viewing—including, if necessary, seeking

                                       1
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 permission from the Judicial Conference of the United States to do so. In

 support of this motion, counsel relies on the attached brief.

                                  Respectfully submitted,

                                  COLLINS EINHORN FARREL PC

                                  /s/ Donald D. Campbell
                                  DONALD D. CAMPBELL (P43088)
                                  Attorneys for Counsel for Plaintiffs:
                                  Hagerstrom, Haller, Johnson,
                                  Kleinhendler, Powell, Rohl, and Wood
                                  4000 Town Center, 9th Fl.
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 Dated: July 14, 2021             248.351.5426




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              IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

 TIMOTHY KING, MARIAN SHERIDAN,
 JOHN HAGGARD, CHARLES RITCHARD,
 JAMES HOOPER, DAREN RUBINGH,

                   Plaintiffs,                  No. 2:20-cv-13134
 v.                                             Hon. Linda V. Parker
                                                Mag. R. Steven Whalen
 GRETCHEN WHITMER, in her
 official capacity as the Governor of the
 State of Michigan, JOCELYN
 BENSON, in her official capacity as
 Michigan Secretary of State and the
 Michigan BOARD OF STATE
 CANVASSERS,

                   Defendants,
 and

 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY,

                   Intervenor-Defendants.


            BRIEF IN SUPPORT OF EMERGENCY MOTION
           REQUESTING PUBLIC RELEASE OF RECORDING
            OF THE JULY 12, 2021, SANCTIONS HEARING
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                Concise Statement of Issue Presented

       On July 12, 2021, this Court held a hearing that was broadcast

 publicly and commented on extensively in the media. The video is no

 longer available through the Court’s website. Intervenors have made

 claims about the hearing that, in plaintiffs’ view, are false. Should the

 Court release the video of the July 12, 2021 hearing to the public?




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        Controlling/Appropriate Authority for Relief Sought

 Local Rule 83.32(e)(4)




                                      ii
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                               Introduction

       Counsel for Plaintiffs (identified in the signature block below) file

 this Motion Requesting Public Release of the Audio-Visual Recording of

 the July 12, 2021 Sanctions Hearing. In that hearing, Michigan state

 officials and the City of Detroit argued for the disbarment of and

 substantial financial penalties against multiple lawyers who have stellar

 records in the practice of law—some of whom have practiced law for

 decades. For the reasons set forth below, counsel request that the Court

 release the video of the July 12, 2021, hearing to the public and allow for

 public distribution.

                                 Argument

       On June 8, 2021, this Court issued notice that the motions for

 sanctions [ECF Nos. 69, 78, 105] would be set for hearing (“Sanctions

 Hearing”) on July 8, 2021. [ECF no. 147.] Subsequently, on June 17,

 2021, the Court issued an order that “[e]ach attorney whose name

 appears on any of Plaintiffs’ pleadings or briefs shall be present at the

 motion hearing.” [ECF No. 123.] Media around the country picked up this

 story, including large internet news sites such as Yahoo, The Hill, and




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 MSN.1 The Sanctions Hearing would later be reset to July 12, 2021, at

 8:00 a.m. [ECF No. 145.]

        The Sanctions Hearing took place as scheduled, spanning nearly six

 hours. Indicative of the public’s interest, the Sanctions Hearing, at its

 peak, “attracted more than 13,000 people watching the live video” on

 YouTube as broadcasted by the Court.2 The national media, from the

 Associated Press to CNN to the New York Times, ran stories on the

 hearing. Most outlets presented a narrative that counsel for plaintiffs

 believe to be incorrect. Those characterizations may change if the Court

 republishes the video and allows others to view it.3 Very short clips of it

 have appeared in myriad places on Telegram, but the recording is no




 1   See, e.g., THE HILL, Sidney Powell summoned to Detroit for sanctions
 hearing, available at https://thehill.com/regulation/court-battles/559179-
 sidney-powell-summoned-to-detroit-for-sanctions-hearing.

 2Ed White, AP NEWS, Trump lawyers might be penalized over Michigan
 election case, available at https://apnews.com/article/joe-biden-
 government-and-politics-elections-michigan-
 e45f806062edd8a7ba81cefd8f3f2638.

 3   See NEW YORK TIMES, A Michigan judge mulls sanctions for pro-Trump
 lawyers who argued to overturn the 2020 election, available at
 https://www.nytimes.com/live/2021/07/13/us/joe-biden-news#sidney-
 powell-michigan-judge-sanctions.
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 longer available on the Court’s website.4 Consequently, counsel is unable

 to refute what they believe to be public mischaracterizations.

       The recording of judicial proceedings is generally prohibited by

 Local Rule 83.32(e)(2). But the Local Rules also allow for a district judge

 to permit the recording and broadcasting of court proceedings when

 authorized by the Judicial Conference of the United States. See Local

 Rule 83.32(e)(4). The Judicial Conference and the CARES Act authorized

 broadcasting this proceeding via YouTube.5 That authority should extend

 to re-broadcasting—and, to the extent it doesn’t, movants respectfully

 ask the Court to seek permission from the Judicial Conference to do so.

       This country has a transparent legal system. “Throughout our

 history, the open courtroom has been a fundamental feature of the

 American judicial system.” Brown & Williamson Tobacco Corp. v. FTC,

 710 F.2d 1165, 1177 (6th Cir. 1983). This is a “common law public right

 of access.” In re Cendant Corp., 260 F.3d 183, 192 (3rd Cir. 2001). It

 includes a “presumptive right of the public to inspect and copy judicial


 4Independent recording of the proceedings was “absolutely prohibited”
 by Court order and the Court’s local rules. [ECF No. 147.]

 5https://www.mied.uscourts.gov/index.cfm?pageFunction=
 RemoteAccessSummary.
                                      3
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 documents and files.” In re Knoxville News-Sentinel Co., Inc., 723 F.2d

 470, 474 (6th Cir. 1983). Release of the video would enhance the

 transparency appropriate for a case of such public interest.

       Moreover, the release of the video would allow the public to view

 the proceedings just as they were conducted. A cold transcript does not

 begin to tell the story. It is “not the equivalent of presence at a

 proceeding.” U.S. v. Simone, 14 F.3d 833, 842 (3rd Cir. 1994). It does not

 convey demeanor, emotion, tone, or nonverbal expression. See Snyder v.

 Louisiana, 552 U.S. 472, 479 (2008) (noting that “the Louisiana Supreme

 Court was correct that nervousness cannot be shown from a cold

 transcript”) (citations omitted). “It cannot reveal ‘the look or manner of

 the witness: his hesitation, his doubts, his variations of language, his

 confidence or precipitancy, his calmness or consideration.’” Zhang v.

 USINS, 386 F.3d 66, 73-74 (2nd Cir. 2004) (quoting Sir John Coleridge in

 Regina v. Bertrand, L.R. 1 P.C. 520, 535 (1867)). Instead, a transcript

 “contains only ‘the dead body of the evidence, without its spirit.’” Zhang,

 386 F.3d at 73 (quoting id.). There was a lot of “spirit” in the hearing in

 this court, which the public should be able to experience in its entirety—




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  enabling citizens to draw their own inferences from the presentations

  instead of depending on media presentations.

         The substantial public concern in this litigation–and for this

  particular hearing–is material to the release the video because, as the

  Sixth Circuit has observed, “the greater the public interest in the

  litigation's subject matter, the greater the showing necessary to overcome

  the presumption of access.” Shane Grp., Inc. v. Blue Cross Blue Shield of

  Mich., 825 F.3d 299, 305 (6th Cir. 2016). Furthermore, the relief

  requested by counsel is in accordance with the general principles

  established in the Sixth Circuit, where “[t]he public has a strong interest

  in obtaining the information contained in the court record.” Brown &

  Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1180 (6th Cir. 1983).

         Court policies around the country support this requested right of

  full access. The Supreme Court promptly posts recordings of oral

  arguments before the Court—as do the federal courts of appeals.6 Entire




  6   See, e.g., Court Audio – Recent Hearings, United States Court of
  Appeals      for     the      Sixth      Circuit,     available    at:
  https://www.opn.ca6.uscourts.gov/internet/court_audio/aud1.php;   see
  also Argument Audio, Supreme Court of the United States, available at:
  https://www.supremecourt.gov/oral_arguments/argument_audio/2018.

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  trials, including jury selection, are televised.7 The Ninth Circuit even

  allows for video footage of cases to be available for later public viewing

  under the authority of the Judicial Conference of the United States.8

       The City of Detroit’s attorney has already appeared on Rachel

  Maddow’s show to discuss the hearing from his perspective.9 On a matter

  of this importance for the country, the Rule of Law, and the practice of

  law itself, the video of the proceedings already made should be available

  for the public for them to judge the arguments of counsel and the entire

  hearing itself.

       The release of the video of the Sanctions Hearing would also serve

  the interests of justice. After the Sanctions Hearing, the Court issued its

  order allowing for “supplemental briefing by Mr. Campbell, Mr. Fink, Mr.

  Wood, and Ms. Junttila.” [ECF No. 150.] These briefs are due by July 26,


  7 Stephen Battaglio, LOS ANGELES TIMES, Derek Chauvin trial brings
  Court     TV     to      a     new      generation,    available   at:
  https://www.latimes.com/entertainment-arts/business/story/2021-04-
  01/derek-chauvin-trial-brings-court-tv-to-a-new-generation.

  8 9th Circuit Oral Argument – State of Hawaii v. Trump (C-SPAN),
  available at: https://www.youtube.com/watch?v=o28mHStvWz8.

  9 MSNBC, Transcript: The Rachel Maddow Show, 7/12/21, available at:
  https://www.msnbc.com/transcripts/transcript-rachel-maddow-show-7-
  12-21-n1273800.
                                       6
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  2021, and any responses to these supplemental briefs must be filed

  “within seven (7) days of the filing of any supplemental brief.” Id.

  Although counsel for plaintiffs and their attorneys have obtained the

  official transcript, having access to the video would also help their

  preparation of supplemental briefs.

       The Court, by authorizing the requested release, would benefit all

  parties by allowing them to ensure they can fully and accurately address

  the Court’s concerns and the issues presented at the nearly six-hours long

  hearing.10 The parties will be afforded insight into mannerisms and

  behavior that “might cast mere spoken words in a different light.” Jones

  v. Murphy, 694 F.3d 225, 238 (2nd Cir. 2012).



  10 This case is also of concern to lawyers because it addresses the line
  between impermissible filings and zealous advocacy. It is the ethical
  obligation of lawyers to take up even unpopular causes, to seek truth and
  justice, and to zealously advocate for their clients. See Supreme Court of
  New Hampshire v. Piper, 470 U.S. 274, 281-82 (1985) (observing that a
  “lawyer who champions unpopular causes surely is as important to the
  ‘maintenance or well-being of the Union as was the shrimp fisherman in
  Toomer or the pipeline worker in Hicklin”) (internal citations omitted);
  see Michigan Rules of Professional Conduct 1.0 (“As advocate, a lawyer
  zealously asserts the client’s position under the rules of the adversary
  system.”); see also Saenz v. Kohl's Dep't Stores, Inc., 2020 FED App.
  0618N, 2020 U.S. App. LEXIS 34753, *11, 15, 2020 WL 6393335 (6th Cir.
  2020) (declining to impose sanctions where legal arguments “might
  conceivably be characterized as that of a reasonably zealous advocate”).
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       This request is even more urgent, and access is even more

  important, now that counsel for intervenor defendant Robert Davis has

  filed a motion asking this Court enter “an order requiring Plaintiffs’

  attorney Lin Wood to show cause why he should not be held in criminal

  contempt for violating Local Rule 83.32(d)(3), (e)(2)” for sharing someone

  else’s thoughts on the Sanctions Hearing that included a video snippet

  on his Telegram channel. [ECF No. 151.] That short video cut was made

  by someone else, appears on multiple Telegram channels, and is part of

  at least one editor-posted news article.11

       Finally, no one has any valid basis to oppose such transparency of

  an important hearing that has already been held in public view.




  11 Zach Heilman, Sidney Powell States her Election Fraud Case in Front
  of     Judge,      Takes      Full     Responsibility,     available      at
  https://www.redvoicemedia.com/2021/07/sidney-powell-states-her-
  election-fraud-case-in-front-of-judge-takes-full-responsibility-video/.
  This video also directly refutes the claim of Mr. Fink, counsel for Detroit
  who argued the case for the government officials and the City of Detroit.
  Mr. Fink claimed to the audience of Rachel Maddow that “everybody’s
  running from it.” He told the national audience that the lawyers who
  drafted the pleadings would not take responsibility for them. He led the
  listeners to believe no one was taking responsibility for the filing. That is
  a falsehood which release of the video will immediately refute.
                                       8
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                                 Conclusion.

       For these reasons, counsel for plaintiffs (as identified below)

  respectfully request that the Court enter an order authorizing the public

  release of the video of the July 12, 2021, Sanctions Hearing.

                                  Respectfully submitted,

                                  COLLINS EINHORN FARREL PC

                                  /s/ Donald D. Campbell
                                  DONALD D. CAMPBELL (P43088)
                                  Attorneys for Counsel for Plaintiffs:
                                  Hagerstrom, Haller, Johnson,
                                  Kleinhendler, Powell, Rohl, and Wood
                                  4000 Town Center, 9th Fl.
                                  Southfield, MI 48075
  Dated: July 14, 2021            248.351.5426




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                             Certificate of Service

       I certify that, on July 14, 2021, I electronically filed an

  EMERGENCY MOTION REQUESTING PUBLIC RELEASE OF

  RECORDING OF THE JULY 12, 2021, SANCTIONS HEARING with the

  Clerk of the Court using the ECF system, and that a copy was

  electronically served on all counsel of record via the ECF system and to

  any counsel not registered to receive electronic copies from the court, by

  enclosing same in a sealed envelope with first class postage fully prepaid,

  addressed to the above, and depositing said envelope and its contents in

  a receptacle for the US Mail.


                                     /s/ Donald D. Campbell
                                     DONALD D. CAMPBELL (P43088)
                                     Attorneys for Hagerstrom, Haller,
                                     Johnson, Kleinhendler, Powell, Rohl,
                                     and Wood




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